                               Case 22-33462 Document 1-2 Filed in TXSB on 11/21/22 Page 1 of 3

 Fill in this information to identify your case:

  Debtor 1                    Timothy              Luke              George
                              First Name           Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name       Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                                                                                                                      ❑   Check if this is an
  (if known)                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on             Current value of the      Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                     portion you own
                                                           Copy the value from       Check only one box for each exemption.
                                                           Schedule A/B
 Brief description:
                                                                                     ✔
                                                                                     ❑             $168,455.00                Const. art. 16 §§ 50, 51, Texas Prop.
 5922 Euclid Loop Richmond, TX 77469-2053                             $490,070.00
                                                                                     ❑   100% of fair market value, up        Code §§ 41.001-.002
 Line from                                                                               to any applicable statutory limit
 Schedule A/B:          1.1

 Brief description:
                                                                                     ✔
                                                                                     ❑                $278.15                 Tex. Prop. Code §§ 42.001(a),
 2022 Toyota Rav 4                                                     $38,000.00
 VIN: YT3LWRIV2NU070704                                                              ❑   100% of fair market value, up        42.002(a)(9)
                                                                                         to any applicable statutory limit
 Line from
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        ❑ No
        ❑ Yes




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                    page 1 of 3
                            Case 22-33462 Document 1-2 Filed in TXSB on 11/21/22 Page 2 of 3

 Debtor 1             Timothy           Luke                  George                                        Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                              ✔
                                                                              ❑              $10,000.00                 Tex. Prop. Code §§ 42.001(a),
 Household goods                                                 $10,000.00
                                                                              ❑   100% of fair market value, up         42.002(a)(1)
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑               $2,000.00                 Tex. Prop. Code §§ 42.001(a),
 Appliances                                                       $2,000.00
                                                                              ❑   100% of fair market value, up         42.002(a)(1)
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑               $3,325.00                 Tex. Prop. Code §§ 42.001(a),
 Electronics                                                      $3,325.00
                                                                              ❑   100% of fair market value, up         42.002(a)(1)
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                              ✔
                                                                              ❑               $2,500.00                 Tex. Prop. Code §§ 42.001(a),
 Equipment for sports and hobbies                                 $2,500.00
                                                                              ❑   100% of fair market value, up         42.002(a)(8)
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         9

 Brief description:
                                                                              ✔
                                                                              ❑                $200.00                  Tex. Prop. Code §§ 42.001(a),
 Firearms                                                           $200.00
                                                                              ❑   100% of fair market value, up         42.002(a)(7)
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        10

 Brief description:
                                                                              ✔
                                                                              ❑               $2,500.00                 Tex. Prop. Code §§ 42.001(a),
 Clothes                                                          $2,500.00
                                                                              ❑   100% of fair market value, up         42.002(a)(5)
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                              ✔
                                                                              ❑               $1,000.00                 Tex. Prop. Code §§ 42.001(a),
 Dog                                                              $1,000.00
                                                                              ❑   100% of fair market value, up         42.002(a)(11)
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        13

 Brief description:
                                                                              ✔
                                                                              ❑                $838.00                  Tex. Prop. Code § 42.0021
 Northwestern Mutual Roth IRA Account No.                           $838.00
 RR1-257940 720 E Wisconsin Ave Milwaukee WI                                  ❑   100% of fair market value, up
 53202                                                                            to any applicable statutory limit

 Line from
 Schedule A/B:        21




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                 page 2 of 3
                            Case 22-33462 Document 1-2 Filed in TXSB on 11/21/22 Page 3 of 3

 Debtor 1             Timothy           Luke                   George                                        Case number (if known)
                      First Name         Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on         Current value of the    Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                 portion you own
                                                       Copy the value from     Check only one box for each exemption.
                                                       Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑              $83,928.34                 Tex. Prop. Code § 42.0021
 Connector Specialists Inc 401k Plan No 258678                    $83,928.34
 Attn: Alex and Joseph Wheelock 175 James Dr St                                ❑   100% of fair market value, up
 Rose LA 70087                                                                     to any applicable statutory limit

 Line from
 Schedule A/B:        21

 Brief description:
                                                                               ✔
                                                                               ❑              $59,962.65                 Tex. Prop. Code § 42.0021
 Ohio College Advantage Direct 529 Savings Plan                   $59,962.65
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:        24

 Brief description:
                                                                               ✔
                                                                               ❑            $1,000,000.00                Tex. Ins. Code §§ 1108.001, 1108.051
 Northwestern Mutual Term Life 720 E Wisconsin                $1,000,000.00
 Ave Milwaukee WI 53202                                                        ❑   100% of fair market value, up
                                                                                   to any applicable statutory limit
 Line from
 Schedule A/B:        31

 Brief description:
                                                                               ✔
                                                                               ❑              $12,000.00                 Tex. Bus. Org. Code § 153.256
 1/3 Fastest Labs of Sugar Land licensing/franchise               $12,000.00
 rights                                                                        ❑   100% of fair market value, up
                                                                                   to any applicable statutory limit
 Line from
 Schedule A/B:        44

 Brief description:
                                                                               ✔
                                                                               ❑              $16,093.00                 Tex. Bus. Org. Code § 153.256
 1/3 shareholder of Ethan Ellie Enterprises Inc                   $16,093.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:        44




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                 page 3 of 3
